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                                  UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

       SECURITIES AND EXCHANGE                              §
       COMMISSION,                                          §
                                                            §
                             Plaintiff,                     §
                                                            §        Case No. 4:15-cv-338
       v.                                                   §        Judge Mazzant
                                                            §
       SETHI PETROLEUM, LLC and                             §
       SAMEER P. SETHI,                                     §
                                                            §
                             Defendants.
                                                            §

                      ORDER GRANTING RENEWED INTERIM FEE
                     APPLICATION OF FOLEY & LARDNER LLP FOR
                ALLOWANCE OF FEES AND REIMBURSEMENT OF EXPENSES

            This matter came on for consideration of that certain Renewed Interim Fee Application of

Foley & Lardner LLP for Allowance of Fees and Reimbursement of Expenses (the

“Application”) filed by Marcus A. Helt, the Court-appointed Receiver (the “Receiver”) for

Sethi Petroleum, LLC’s and Sameer P. Sethi’s (collectively the “Defendants”) receivership

estates (together, the “Receivership Estate”),1 requesting approval and authorization of fees and

expenses incurred by Counsel2 during the Application Period. Upon consideration of the

Application, the Court finds that Counsel has provided reasonable services at a reasonable rate

that have benefitted the Receivership Estate; the Court finds that the relief requested in the

Application is in the best interests of the Receivership Estate and all parties-in-interest thereof;

the Court finds that proper and adequate notice of the Application has been given and that no




1
 The Receivership Estate includes all entities identified in the Order Granting the Receiver’s Motion to Confirm
Receivership Assets/Entities [Docket No. 40].
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Application.
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    other or further notice is necessary; the Court finds that the deadline for filing objections to the

    Application has expired; and, there having been no objections filed to the Application.

           ACCORDINGLY, IT IS HEREBY ORDERED THAT:

           1.      The Application is GRANTED to the extent set forth in this Order.

           2.      Counsel’s Expense Reimbursements are approved and allowed, on an interim

    basis, in the amount of $26,736.87.

           3.      Counsel’s Interim Fees are approved and allowed, on an interim basis, in the

    amount of $673,263.13.

           4.      The Receiver is hereby authorized and directed to pay from available funds of the

    Receivership Estate: first, the Expense Reimbursements; and second, the Interim Fees.

.          5.      Counsel shall be authorized to seek approval of any remaining, additional unpaid

    fees and expenses incurred at a final hearing to consider Counsel’s request for compensation and

    expense reimbursement in this case.

           IT IS SO ORDERED.
           SIGNED this 28th day of June, 2019.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE




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